                       3:12-cv-03087-RM-TSH # 85           Page 1 of 9
                                                                                           E-FILED
                                                                Thursday, 10 April, 2014 03:29:53 PM
                                                                       Clerk, U.S. District Court, ILCD
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

BEVERLY THROGMORTON, DELORES                       )
HENRY, and PATRICIA PHILLIPS, on behalf            )
of themselves and class of others similarly        )
situated,                                          )
                                                   )
                             Plaintiffs            )
                                                   )
       v.                                          )      No. 12-3087
                                                   )
RUSSELL REYNOLDS, et al.,                          )
                                                   )
                             Defendants.           )

                      ANSWER TO SIXTH AMENDED COMPLAINT

       NOW COME the defendants, Joseph Yurkovich and Felipe Zavala, by and through

their attorney, Lisa Madigan, Attorney General for the State of Illinois, and hereby submit

defendants’ Answer to Plaintiff’s Sixth Amended Complaint [Doc. 83]. In support thereof,

defendants state as follows:

                                          INTRODUCTION

       1.     Defendants admit the allegations are as stated by Plaintiffs Defendants deny

Plaintiffs have any meritorious claims in either law or fact.

       2.     Defendants admit that searches were conducted on March 31, 2011, but lack

sufficient knowledge to admit or deny the remaining allegations contained in this paragraph.

       3.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       4.     Defendants admit that cadets were present during the searches conducted on

March 31, 2011, but lack sufficient knowledge to admit or deny the remaining allegations

contained in this paragraph.

       5.     Defendants deny there is no justification for performing searches, but lack

sufficient knowledge to admit or deny any allegations specific to these searches.
                       3:12-cv-03087-RM-TSH # 85         Page 2 of 9


       6.     Defendants lack sufficient knowledge to admit or deny Plaintiffs’ motivations

for filing this case. Defendants deny the allegations.

       7.     Admitted.

       8.     Admitted.

                                           PARTIES

       9.     Defendants admit that Plaintiff Throgmorton is 48 years old. Defendants lack

knowledge as to plaintiff’s current residence. Defendants admit plaintiff was housed in 2B

at Lincoln Correctional Center on March 31, 2011.        Defendants deny the remaining

allegations contained in this paragraph.

       10.    Defendants deny that Plaintiff Henry is 57 years old and was housed in unit 2B

at Lincoln on March 31, 2011. Defendants lack sufficient knowledge to admit or deny where

Henry resides now. Defendants deny the remaining allegations contained in this paragraph.

       11.    Defendants admit that Plaintiff Phillips is approximately 44 years old and was

housed in unit 2B at Lincoln on March 31, 2011. Defendants lack sufficient knowledge to

admit or deny where Phillips resides now. Defendants deny the remaining allegations

contained in this paragraph.

       12.    Defendants admit that Plaintiff Hegwood is 49 years old and was housed in

unit 2B at Lincoln on March 31, 2011. Defendants lack sufficient knowledge to admit or deny

Hegwood’s current residence. Defendants deny the remaining allegations contained in this

paragraph.

       13.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       14.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.



                                              2
                         3:12-cv-03087-RM-TSH # 85       Page 3 of 9


       15.     Defendants admit that Lincoln Correctional Center was medium security and

housed female inmates at the time relevant to this case, but deny there were only three such

facilities. Defendants lack sufficient knowledge to admit or deny the remaining allegations

contained in this paragraph.

       16.     Defendants admit Defendants Edmonson, Johnson, Leonetti, Dowdy, Pfeiffer,

Craig, and Slater were members of the tactical unit at Lincoln and acted under color of law

at all relevant times.

       17.     Defendants admit the listed defendants were employed at Lincoln on March

31, 2011, and acted under color of law at all relevant times.        Defendants deny that

Defendants Dallas and Last held the rank of officer. Defendants lack sufficient knowledge

to admit or deny the allegations regarding unknown officers.

       18.     Admitted.

       19.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph as it is unclear what Plaintiffs mean by “in charge of.”

Defendants admit they acted under color of law.

       20.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph as it is unclear what Plaintiffs mean by “in charge of.”

Defendants admit they acted under color of law.

       21.     Admitted.

       22.     Defendants deny that Logan is one of four female institutions, but admit the

remaining allegations contained in this paragraph.

       23.     Defendants admit the allegations contained in this paragraph.

       24.     Defendants admit the allegations contained in this paragraph.




                                             3
                        3:12-cv-03087-RM-TSH # 85           Page 4 of 9


                          Facts Relating to the Named Plaintiffs

       25.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       26.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       27.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       28.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       29.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       30.     Defendants admit that part of the procedure for strip searching requires

inmates to remove tampons and discard them in a garbage can. Defendants lack sufficient

knowledge to admit or deny the remaining allegations in this paragraph.

       31.     Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks. Defendants lack sufficient

knowledge to admit or deny the remaining allegations in this paragraph.

       32.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       33.     Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       34.     Defendants lack sufficient knowledge to either admit or deny the allegations

contained in this paragraph.




                                                4
                       3:12-cv-03087-RM-TSH # 85           Page 5 of 9


       35.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       36.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks and that if Plaintiff was

strip searched, she would have been required to comply.            Defendants lack sufficient

knowledge to admit or deny the remaining allegations in this paragraph..

       37.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       38.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks and that if Plaintiff was

strip searched, she would have been required to comply.            Defendants lack sufficient

knowledge to admit or deny the remaining allegations in this paragraph.

       39.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       40.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       41.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       42.    Defendants deny there is no justification for searching inmates, but lack

sufficient knowledge to admit or deny the specific allegations in this paragraph.

       43.    Defendants denies the allegations contained in this paragraph as to standard

searches, but lack sufficient knowledge to admit or deny the allegations as to the specific

searches at issue.




                                               5
                        3:12-cv-03087-RM-TSH # 85       Page 6 of 9


       44.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       45.    Defendants lack sufficient knowledge to admit or deny the allegations in this

paragraph.

       46.    Defendants admit the allegations contained in this paragraph.

       47.    Defendants deny the allegations contained in this paragraph.

       48.    Defendants deny this is a complete and accurate description of the process

of organizing cadet training exercises.

                                    Class Allegations

       49.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       50.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       51.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       52.    Denied.

       53.    Denied.

       54.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       55.    Denied.

       56.    Denied.

       57.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       58.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

                                            6
                         3:12-cv-03087-RM-TSH # 85           Page 7 of 9


       59.     Denied.

       60.     Denied.

       61.     Denied.

       62.     Denied.

       63.     Denied.

      Count I—Claims Pursuant to 42 U.S.C. §1983 Violations of the Fourth and
                           Fourteenth Amendments

       64.     Defendants incorporate by reference as if fully set forth herein their answers

to the foregoing paragraphs.

       65.     Denied.

       66.     Denied.

       67.     Denied.

Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.

    Count II—Claims Pursuant to 42 U.S.C. §1983 Violations Eighth Amendment

       68.     Defendants incorporate by reference as if fully set forth herein their answers

to the foregoing paragraphs.

       69.     Denied.

       70.     Denied.

       71.     Denied.

       72.     Denied.

Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.

                                 Count III – Injunctive Relief

       73.     Defendants deny they conduct strip searches in a manner that violates the

rights of inmates and that the plaintiffs are entitled to injunctive relief.


                                                7
                         3:12-cv-03087-RM-TSH # 85           Page 8 of 9


                                       Prayers for Relief

          Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of

action.

                                     Affirmative Defenses

          1.     Plaintiffs have to exhaust their administrative remedies as is required prior to

filing suit under 42 U.S.C. 1983 by the Prison Litigation Reform Act (42 U.S.C. 1997) and

Perez v. Wisconsin Dept. of Corrections, 182 F.3d 532 (7 th Cir. 1999).

          2.     In the absence of an ongoing violation of federal law, the plaintiffs’ claim for

injunctive relief is barred by sovereign immunity and the Eleventh Amendment.

          W herefore, for the above and foregoing reasons, defendants ask this Honorable

Court to deny plaintiffs’ requested relief.

                                      Respectfully submitted,

                                      Joseph Yurkovich and Felipe Zavala,

                                              Defendants,

                                      LISA MADIGAN, Attorney General
                                      of the State of Illinois,

                                              Attorney for Defendants.

                                      By: s/ Christopher L. Higgerson
                                            Christopher L. Higgerson, #6256085
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                                                 8
                        3:12-cv-03087-RM-TSH # 85            Page 9 of 9


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION

BEVERLY THROGMORTON, DELORES                         )
HENRY, and PATRICIA PHILLIPS, on behalf              )
of themselves and class of others similarly          )
situated,                                            )
                                                     )
                              Plaintiffs             )
                                                     )
       v.                                            )       No. 12-3087
                                                     )
RUSSELL REYNOLDS, et al.,                            )
                                                     )
                              Defendants.            )


                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2014, I electronically filed the foregoing Defendants’

Answer to Sixth Amended Complaint with the Clerk of Court using the CM/ECF system which

will send notification of such filing to the following:

                           Michael I Kanovitz       mike@loevy.com

                           Arthur R. Loevy      loevylaw@loevy.com

                             Jonathan I. Loevy      jon@loevy.com

                          Daniel Moore Twetten           dan@loevy.com


                                             Respectfully submitted,

                                             By: s/ Christopher L. Higgerson
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                                                9
